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               EXHIBIT E
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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

                                               §
 MIDAS GREEN TECHNOLOGIES, LLC,                §
   PLAINTIFF,                                  §                 CASE NO. 4:20-cv-00555-O
                                               §
 V.                                            §                 JURY TRIAL DEMANDED
                                               §
 IMMERSION SYSTEMS LLC,                        §                             PATENT CASE
   DEFENDANT.                                  §
                                               §

                          JOINT CLAIM CONSTRUCTION CHART



       Pursuant to Rule 4-5(d) of the Second Amended Miscellaneous Order No. 62 of the

Northern District of Texas, Dallas Division and the Joint Scheduling Order entered by the Court

(Dkt. No. 64), Plaintiff and Counterclaim Defendant Midas Green Technologies, LLC and

Defendant and Counterclaim Plaintiff Immersion Systems LLC hereby submit their Joint Claim

Construction Chart, attached as Exhibit A.

       Dated: October 15, 2021

                                                   Respectfully Submitted,

                                                   /s/ Artie Pennington

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                                CERTIFICATE OF SERVICE

       I hereby certify that on 15th day of October, 2021, I electronically submitted the foregoing

document with the clerk of court for the U.S. District Court, Northern District of Texas, using the

CM/ECF filing system of the court for electronic service on all parties.

                                             Respectfully submitted,

                                             By: /s/ Artie Pennington
                                             Artie Pennington
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                                            JOINT CLAIM CONSTRUCTION CHART

Midas Green Technologies, LLC v. Immersion Systems LLC                            U.S. Patent No. 10,405,457 (the " '457 Patent")
                                                                                  U.S. Patent No. 10,820,446 (the " '446 Patent")

  I.   AGREED CLAIM TERMS.

The parties have already agreed upon the following constructions of the nineteen (19) claims.


       Patent and Claim      Claim Term                   Plaintiff's Proposed     Defendant's            Judge's Construction
       Number(s)                                          Construction             Proposed
                                                                                   Construction
 1.    '457 Patent           "a tank adapted to           [AGREED]                 [AGREED]               Plain and Ordinary
       Claims 1, 5, 6, 10,   immerse"                                                                     Meaning
       11, 14;
       '446 Patent
       Claims 1, 5, 6, 10
 2.    '457 Patent           "each in a respective        [AGREED]                 [AGREED]               Plain and Ordinary
       Claims 1, 5, 6, 10,   appliance slot"                                                              Meaning
       11, 14;
       '446 Patent
       Claims 1, 5, 6, 10
 3.    '457 Patent           "weir"                       [AGREED]                 [AGREED]               “an overflow structure
       Claims 1, 5, 6, 10,                                                                                or barrier that
       11, 14;                                                                                            determines the level of
       ‘446 Patent                                                                                        liquid”
       Claims 1, 5, 6, 10
 4.    '457 Patent           "weir, integrated            [AGREED]                 [AGREED]               Plain and Ordinary
       Claims 1, 5, 6, 10,   horizontally into the long                                                   Meaning
       11, 14;               wall"
       '446 Patent
       Claims 1, 5, 6, 10


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5.  '457 Patent           "primary circulation         [AGREED]   [AGREED]            Plain and Ordinary
    Claims 1, 5, 6, 10,   facility adapted to                                         Meaning
    11, 14;               circulate"
    '446 Patent
    Claims 1, 5, 6, 10
6. '457 Patent            "substantially uniform       [AGREED]   [AGREED]            Plain and Ordinary
    Claims 1, 5, 6, 10,   recovery of the dielectric                                  Meaning
    11, 14;               fluid"
    '446 Patent
    Claims 1, 5, 6, 10
7. '457 Patent            "primary fluid circulation   [AGREED]   [AGREED]            Plain and Ordinary
    Claims 1, 5, 6, 10,   facility"                                                   Meaning
    11, 14;
    '446 Patent
    Claims 1, 5, 6, 10
8. '457 Patent            "plenum"                     [AGREED]   [AGREED]            “a structure for
    Claims 1, 5, 6, 10,                                                               dispensing liquid”
    11, 14;
    '446 Patent
    Claims 1, 5, 6, 10
9. '457 Patent            "plenum, positioned          [AGREED]   [AGREED]            Plain and Ordinary
    Claims 1, 5, 6, 10,   adjacent the bottom of                                      Meaning
    11, 14;               the tank"
    '446 Patent
    Claims 1, 5, 6, 10
10. '457 Patent           "a plenum . . . adapted to   [AGREED]   [AGREED]            Plain and Ordinary
    Claims 1, 5, 6, 10,   dispense"                                                   Meaning
    11, 14;
    '446 Patent
    Claims 1, 5, 6, 10
11. '457 Patent           "substantially uniformly     [AGREED]   [AGREED]            Plain and Ordinary
                          upwardly"                                                   Meaning



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      Claims 1, 5, 6, 10,
      11, 14;
      '446 Patent
      Claims 1, 5, 6, 10
12.   '457 Patent           "a control facility"        [AGREED]    [AGREED]            Plain and Ordinary
      Claims 1, 5, 6, 10,                                                               Meaning
      11, 14;
      '446 Patent
      Claims 1, 5, 6, 10
13.   '457 Patent           "as a function of the       [AGREED]    [AGREED]            Plain and Ordinary
      Claims 1, 5, 6, 10,   temperature"                                                Meaning
      11, 14;
      '446 Patent
      Claims 1, 5, 6, 10
14.   '457 Patent           "secondary fluid            [AGREED]    [AGREED]            Plain and Ordinary
      Claims 1, 5;          circulation facility"                                       Meaning
      '446 Patent
      Claim 1
15.   '457 Patent           "adapted to extract heat"   [AGREED]    [AGREED]            Plain and Ordinary
      Claims 1, 5;                                                                      Meaning
      ‘446 Patent
      Claim 1
16.   '457 Patent           "dissipate to the           [AGREED]    [AGREED]            Plain and Ordinary
      Claims 1, 5;          environment the heat so                                     Meaning
      '446 Patent           extracted"
      Claim 1
17.   '457 Patent           "communication facility     [AGREED]    [AGREED]            Plain and Ordinary
      Claims 5, 10, 14;     adapted to facilitate                                       Meaning
      '446 Patent           monitoring and control"
      Claims 5, 10
18.   '457 Patent           "remote location"           [AGREED]    [AGREED]            Plain and Ordinary
      Claims 5, 10, 14;                                                                 Meaning
      '446 Patent


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     Claims 5, 10
 19. '457 Patent           "over the weir"              [AGREED]                    [AGREED]                    Plain and Ordinary
     Claims 1, 5, 6, 10                                                                                         Meaning


 II.   DISPUTED CLAIM TERMS.

The disputed claims, with the two (2) disputed claim terms bolded, are displayed below.


       Patent and Claim    Claim Term                   Plaintiff’s Proposed        Defendant’s Proposed        Judge’s Construction
       Number(s)                                        Construction                Construction
 1.    '457 Patent                                      (i) Not indefinite; Plain   Immersion contends
                           "An appliance immersion
       Claim 1                                          and Ordinary Meaning        that this claim term is
                           cooling system
                                                                                    indefinite for failure to
                           comprising:
                                                        (ii) Alternatively, "a      meet the requirements
                           a tank adapted to immerse
                                                        weir … having an            of 35 U.S.C. § 112(b)
                           in a dielectric fluid a
                                                        overflow edge or            which renders the
                           plurality of electrical
                                                        boundary capable of         applicable claims
                           appliances, each in a
                                                        easing or helping           invalid.
                           respective appliance slot
                                                        substantially uniform
                           distributed vertically
                                                        recovery"
                           along, and extending
                           transverse to, a long wall
                           of the tank, the tank
                           comprising:
                                a weir, integrated
                           horizontally into the long
                           wall of the tank adjacent
                           all appliance slots,
                           having an overflow lip
                           adapted to facilitate
                           substantially uniform


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      recovery of the dielectric
      fluid flowing through
      each appliance slot; and;
           a dielectric fluid
      recovery reservoir
      positioned vertically
      beneath the overflow lip
      of the weir and adapted to
      receive the dielectric fluid
      as it flows over the weir;
          a primary circulation
      facility adapted to
      circulate the dielectric
      fluid through the tank,
      comprising:
          a plenum, positioned
      adjacent the bottom of the
      tank, adapted to dispense
      the dielectric fluid
          substantially
      uniformly upwardly
      through each appliance
      slot;
          a secondary fluid
      circulation facility
      adapted to extract heat
      from the dielectric fluid
      circulating in
          the primary
      circulation facility, and to
      dissipate to the


                                     5
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                         environment the heat so
                         extracted; and
                             a control facility
                         adapted to coordinate the
                         operation of the primary
                         and secondary fluid
                         circulation facilities as a
                         function of the
                         temperature of the
                         dielectric fluid in the
                         tank."

2.   '457 Patent                                       (i) Not indefinite; Plain   Immersion contends
                         "A tank module adapted
     Claim 6                                           and Ordinary Meaning        that this claim term is
                         for use in an appliance
                                                                                   indefinite for failure to
                         immersion        cooling
                                                       (ii) Alternatively, "a      meet the requirements
                         system, the tank module
                                                       weir … having an            of 35 U.S.C. § 112(b)
                         comprising:
                                                       overflow edge or            which renders the
                              a tank adapted to        boundary capable of         applicable claims
                         immerse in a dielectric       easing or helping           invalid.
                         fluid a plurality of          substantially uniform
                         electrical appliances, each   recovery"
                         in a
                          respective appliance slot
                         distributed      vertically
                         along, and extending
                         transverse to, a long wall
                         of the tank, the tank
                         comprising:
                             a weir, integrated
                         horizontally into the long
                         wall of the tank adjacent


                                                                 6
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      all appliance slots, having
      an overflow lip adapted
      to facilitate substantially
      uniform recovery of the
      dielectric fluid flowing
      through each appliance
      slot; and;
           a dielectric fluid
      recovery           reservoir
      positioned        vertically
      beneath the overflow lip
      of the weir and adapted to
      receive the dielectric fluid
      as it flows over the weir;
          a primary circulation
      facility   adapted     to
      circulate the dielectric
      fluid through the tank,
      comprising:
          a plenum, positioned
      adjacent the bottom of the
      tank, adapted to dispense
      the     dielectric   fluid
      substantially uniformly
      upwardly through each
      appliance slot; and
          a control facility
      adapted to control the
      operation of the primary
      fluid circulation facility as
      function        of        the
      temperature       of      the


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                         dielectric fluid in the
                         tank."

3.   '457 Patent                                      (i) Not indefinite; Plain   Immersion contends
                         "A tank module (10)
     Claim 11                                         and Ordinary Meaning        that this claim term is
                         adapted for use in an
                                                                                  indefinite for failure to
                         appliance     immersion
                                                      (ii) Alternatively, "a      meet the requirements
                         cooling system, the tank
                                                      weir … capable of           of 35 U.S.C. § 112(b)
                         module comprising:
                                                      easing or helping           which renders the
                             a tank (12) adapted to substantially uniform         applicable claims
                         immerse in a dielectric recovery"                        invalid.
                         fluid a plurality of
                         electrical appliances (16),
                         each in a respective
                         appliance      slot     (18)
                         distributed       vertically
                         along, and extending
                         transverse to, a long wall
                         of the tank (10), the tank
                         (10) comprising:
                             a weir 22, integrated
                         horizontally into the long
                         wall of the tank (10)
                         adjacent all appliance
                         slots (18), adapted to
                         facilitate substantially
                         uniform recovery of the
                         dielectric fluid flowing
                         through each appliance
                         slot (18);
                             a primary circulation
                         facility (28) adapted to


                                                                8
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                          circulate the dielectric
                          fluid through the tank
                          (10), comprising:
                              a      plenum     (36),
                          positioned adjacent the
                          bottom of the tank (10),
                          adapted to dispense the
                          dielectric            fluid
                          substantially uniformly
                          upwardly through each
                          appliance slot (18); and
                              a control facility (58)
                          adapted to control the
                          operation of the primary
                          fluid circulation facility
                          (28) as a function of the
                          temperature       of      the
                          dielectric fluid in the tank
                          (10)."

4.   '446 Patent          "An appliance immersion (i) Not indefinite; Plain    Immersion contends
     Claim 1                                  system and Ordinary Meaning      that this claim term is
                          cooling
                          comprising:                                          indefinite for failure to
                                                      (ii) Alternatively, "a   meet the requirements
                          a tank adapted to immerse weir … capable of          of 35 U.S.C. § 112(b)
                          in a dielectric fluid a easing or helping            which renders the
                          plurality of electrical substantially uniform        applicable claims
                          appliances, each in a recovery"                      invalid.
                          respective appliance slot
                          distributed      vertically
                          along, and extending
                          transverse to, a long wall


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       of the tank, the tank
       comprising:
           a weir, integrated
       horizontally into the long
       wall of the tank adjacent
       all    appliance     slots,
       adapted to facilitate
       substantially     uniform
       recovery of the dielectric
       fluid flowing through
       each appliance slot;
           a primary circulation
       facility   adapted     to
       circulate the dielectric
       fluid through the tank,
       comprising:
           a plenum, positioned
       adjacent the bottom of the
       tank, adapted to dispense
       the     dielectric   fluid
       substantially uniformly
       upwardly through each
       appliance slot;
           a secondary fluid
       circulation          facility
       adapted to extract heat
       from the dielectric fluid
       circulating in the primary
       circulation facility, and to
       dissipate       to       the




                                       10
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                          environment the heat so
                          extracted; and
                              a control facility
                          adapted to coordinate the
                          operation of the primary
                          and     secondary      fluid
                          circulation facilities as a
                          function       of        the
                          temperature      of      the
                          dielectric fluid in the
                          tank."

5.   '446 Patent                                         (i) Not indefinite; Plain   Immersion contends
                          "A tank module adapted
     Claim 6                                             and Ordinary Meaning        that this claim term is
                          for use in an appliance
                                                                                     indefinite for failure to
                          immersion        cooling
                                                      (ii) Alternatively, "a         meet the requirements
                          system, the tank module
                                                      weir … capable of              of 35 U.S.C. § 112(b)
                          comprising:
                                                      easing or helping              which renders the
                              a tank adapted to substantially uniform                applicable claims
                          immerse in a dielectric recovery"                          invalid.
                          fluid a plurality of
                          electrical appliances, each
                          in a respective appliance
                          slot distributed vertically
                          along, and extending
                          transverse to, a long wall
                          of the tank, the tank
                          comprising:
                              a weir, integrated
                          horizontally into the long
                          wall of the tank adjacent
                          all   appliance      slots,


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       adapted to facilitate
       substantially    uniform
       recovery of the dielectric
       fluid flowing through
       each appliance slot;
           a primary circulation
       facility   adapted     to
       circulate the dielectric
       fluid through the tank,
       comprising:
           a plenum, positioned
       adjacent the bottom of the
       tank, adapted to dispense
       the     dielectric   fluid
       substantially uniformly
       upwardly through each
       appliance slot; and
           a control facility
       adapted to control the
       operation of the primary
       fluid circulation facility as
       a     function     of     the
       temperature       of      the
       dielectric fluid in the
       tank."




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